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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 24-cr-0251-RMR

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1. RONALD KING,
2. VICTOR ROITER,
3. TINA WELLMAN,
4. ADAM SHORR,
5. ROBERT O’SULLIVAN,
6. BRADLEY EDSON, and
7. JOHN GAUTEREAUX,

              Defendants.

______________________________________________________________________

                              INDICTMENT
______________________________________________________________________

       The Grand Jury charges:

                                         COUNT 1
                                     (18 U.S.C. § 1349)

       At all times material to this Indictment:

The Medicare Program

       1.     The Medicare Program (“Medicare”) was a federally funded program that

provided free and below-cost health care benefits to individuals, primarily the elderly,

blind, and disabled. The benefits available under Medicare were governed by federal

statutes and regulations. The United States Department of Health and Human Services
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(“HHS”), through its agency, the Centers for Medicare & Medicaid Services (“CMS”),

oversaw and administered Medicare. Individuals who received benefits under Medicare

were commonly referred to as Medicare “beneficiaries.”

       2.     Medicare was a “health care benefit program,” as defined by Title 18,

United States Code, Section 24(b), and a “Federal health care program,” as defined by

Title 42, United States Code, Section 1320a-7b(f).

       3.     Medicare covered different types of benefits and was separated into

different program parts. Medicare Part B covered, among other things, medical services

provided by physicians, medical clinics, laboratories, and other qualified health care

providers, such as office visits and laboratory testing, that were medically necessary

and ordered by licensed medical doctors or other qualified health care providers.

       4.     Medicare providers included independent clinical laboratories, physicians,

and other health care providers who provided items and services to Medicare

beneficiaries. To submit claims for reimbursement to Medicare, a provider was required

to submit a Medicare Enrollment Application Form to Medicare. The application

contained certifications that the provider was required to make before the provider could

enroll. Specifically, the application required the provider to certify, among other things,

that the provider would abide by the Medicare laws, regulations, and program

instructions, including the Federal Anti-Kickback Statute, and that the provider would not

knowingly present or cause to be presented a false or fraudulent claim for payment by

Medicare.




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       5.     A Medicare provider number was assigned to a provider upon approval of

the provider’s application. A health care provider that received a Medicare provider

number was able to submit claims with Medicare to obtain reimbursement for services

provided to beneficiaries.

       6.     A Medicare claim was required to contain certain important information,

including: (a) the beneficiary’s name and Health Insurance Claim Number; (b) the billing

codes for the benefit, item, or service provided or supplied to the beneficiary (referred to

as Current Procedural Terminology, or CPT, codes); (c) diagnosis codes (referred to as

ICD-10 codes); (d) the date upon which the benefit, item, or service was provided or

supplied to the beneficiary; (e) the name of the referring physician or other health care

provider; and (f) the referring provider’s unique identifying number, known either as the

Unique Physician Identification Number (“UPIN”) or National Provider Identifier (“NPI”).

The claim form could be submitted in hard copy or electronically.

       7.     When submitting claims to Medicare for reimbursement, providers were

required to certify that: (1) the contents of the forms were true, correct, and complete;

(2) the forms were prepared in compliance with the laws and regulations governing

Medicare; and (3) the services that were purportedly provided, as set forth in the claims,

were medically necessary.

       8.     Medicare claims were required to be properly documented in accordance

with Medicare rules and regulations. Medicare would not reimburse providers for claims

that were procured through the payment of kickbacks and bribes.




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       9.     CMS acted through fiscal agents called Medicare administrative

contractors (“MACs”), which were statutory agents for CMS for Medicare Part B. The

MACs were private entities that reviewed claims and made payments to providers for

services rendered to beneficiaries. The MACs were responsible for processing Medicare

claims arising within their assigned geographical area, including determining whether

the claim was for a covered service. Novitas Solutions Inc. and Palmetto GBA were

MACs.

       10.    Payments under Medicare Part B were often made directly to the health

care provider rather than to the patient or beneficiary. For this to occur, the beneficiary

would assign the right of payment to the health care provider. Once such an assignment

took place, the health care provider would assume the responsibility for submitting

claims to, and receiving payments from, Medicare.

The Colorado Medicaid Program

       11.    The Medicaid Program (“Medicaid”) provided health coverage to low-

income adults, children, pregnant women, elderly adults, and people with disabilities.

Medicaid was a federal and state funded health care program administered by states,

according to federal requirements.

       12.    Colorado Medicaid was a “Federal health care program” as defined in Title

42, United States Code, Section 1320a-7b(f), and a “health care benefit program,” as

defined by Title 18, United States Code, Section § 24(b).

       13.    The benefits available under Medicaid were governed by federal statutes

and regulations, and by rules implemented by the individual states. Individuals who


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received benefits under Medicaid were commonly referred to as Medicaid

“beneficiaries.”

       14.    The State of Colorado, acting through the Department of Healthcare

Policy and Finance, administered the Colorado Medicaid Program, Health First

Colorado (hereinafter “Colorado Medicaid”).

       15.    A Medicaid claim was required to contain certain important information,

including: (a) the beneficiary’s name and Member ID number; (b) the billing codes for

the benefit, item, or service (CPT codes); (d) diagnosis codes (ICD-10 codes); (e) the

date upon which the benefit, item, or service was provided or supplied to the

beneficiary; (f) the name of the provider; and (g) the provider’s NPI. The claim form

could be submitted electronically.

Coverage for Genetic Testing

       16.    Genetic testing used DNA sequencing to detect mutations in genes that

could indicate a higher risk of developing certain types of diseases in the future. There

were different types of genetic testing, such as cancer genetic testing (referred to as

“CGx”), cardiovascular genetic testing, pharmacogenomic testing (referred to as “PGx”),

and others. Genetic testing was not a method of diagnosing whether an individual

presently had a certain medical condition or disease.

       17.    To complete a genetic test, the patient typically provided a cheek swab

(buccal swab) containing DNA material. Tests were then run for different “panels” of

genes identified by the clinical laboratory. Genetic testing typically involved multiple lab




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procedures that resulted in billing Medicare using multiple CPT codes, each with its own

reimbursement rate.

       18.    Medicare did not cover diagnostic testing that was “not reasonable and

necessary for the diagnosis or treatment of illness or injury or to improve the functioning

of a malformed body member.” 42 U.S.C. § l395y(a)(l)(A). Except for certain statutory

exceptions, Medicare did not cover “examinations performed for a purpose other than

treatment or diagnosis of a specific illness, symptoms, complaint or injury.” 42 C.F.R. §

411.15(a)(1). Among the statutory exceptions Medicare covered were cancer screening

tests such as “screening mammography, colorectal cancer screening tests, screening

pelvic exams, [and] prostate cancer screening tests.” Id.

       19.    If laboratory testing was necessary for the diagnosis or treatment of illness

or injury or to improve the functioning of a malformed body member, Medicare imposed

additional requirements before covering the testing. The regulations provided, “All

diagnostic x-ray tests, diagnostic laboratory tests, and other diagnostic tests must be

ordered by the physician who is treating the beneficiary, that is, the physician who

furnishes a consultation or treats a beneficiary for a specific medical problem and who

uses the results in the management of the beneficiary’s specific medical problem.” 42

C.F.R. § 410.32(a). “Tests not ordered by the physician who is treating the beneficiary

are not reasonable and necessary.” Id.

       20.    The Colorado Medicaid rules required covered services to be medically

necessary, stating “[m]edical necessity means that a Medical Assistance program, good,

or service is not primarily for the economic benefit of the provider or primarily for the


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convenience of the client, caretaker, or provider and is provided in accordance with

generally accepted professional standards for health care in the United States.” 10

Colo. Code Regs. § 2505-10:8.076.8.

       21.    Under Colorado Medicaid, laboratory services were a covered benefit only

if specific conditions were met, including the following: (1) the services were authorized

by a licensed physician, (2) the services were performed to diagnose conditions and

illnesses with specific symptoms, (3) the services were performed to prevent or treat

conditions that were benefits under the Colorado Medicaid program, and (4) the

services were not routine diagnostic tests performed without apparent relationship to

treatment or diagnosis for a specific illness, symptom, complaint or injury. 10 Colo.

Code. Regs. § 2505-10:8.660.3.A(1)–(4).

The Defendants, Related Entities, and Relevant Persons

       22.    Tesis Labs LLC, also known as Tesis Biosciences LLC (“Tesis”), was a

limited liability company formed under the laws of Delaware in or around October 2019.

       23.    Tesis, through various entities, owned and operated four independent

clinical laboratories at times throughout the conspiracy charged. Claro Scientific

Laboratories, Inc. (“Claro”) was a corporation formed under the laws of Delaware with

its principal place of business in Lafayette, Colorado. Claro was an independent clinical

laboratory enrolled with Medicare. Tesis acquired the laboratory in or around January

2020. Alliance DX, LLC (“Alliance”) was a limited liability company formed under the

laws of Texas with its principal place of business in Texas. Alliance was an independent

clinical laboratory enrolled with Medicare. Tesis acquired the laboratory in or around


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November 2020. 303 Diagnostics, LLC (“303 Diagnostics”) was a limited liability

company formed under the laws of Colorado with its principal place of business in

Colorado. Tesis acquired 303 Diagnostics in or around December 2020, when it was

located in Denver, Colorado. 303 Diagnostics was an independent clinical laboratory

enrolled with Medicare. In or around October 2021, the lab established a principal place

of business in Aurora, Colorado. The three foregoing laboratories are, hereinafter, the

“Tesis Laboratories.” Tesis Labs of Arizona LLC (“Tesis Arizona”) was an independent

clinical laboratory that, among other things, was used to perform genetic testing for

which other third-party laboratories would bill Federal health care programs. Tesis

Arizona was established in or around October 2021 with its principal place of business

in Arizona.

       24.    Defendant RONALD KING was the CEO of Tesis and a beneficial owner of

Tesis through an entity he controlled, Vytal Healthcare Solutions, which was a Member

of the limited liability company. RONALD KING was also associated with and provided

direction to the billing company (“Billing Company”) Tesis hired to “map” its genetic

testing panels, review its claims to maximize reimbursement from Medicare and

Medicaid, train its marketers on “medical necessity,” and submit claims to Medicare and

Medicaid, among other tasks.

       25.    VICTOR ROITER was a beneficial owner of Tesis through an entity he

controlled, Redstone Consulting, LLC, which was a Member of the limited liability

company. VICTOR ROITER was identified as the Vice President of Marketing for Tesis,

and he signed Medicare paperwork for Claro on which he was identified as “owner.”


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       26.      Defendant TINA WELLMAN was a beneficial owner of Tesis through an

entity she controlled, Valley Vantage Consulting, LLC, which was a Member of the

limited liability company. At times, WELLMAN was identified as the Chief Operating

Officer of Tesis. TINA WELLMAN was also the CEO and owner of the Billing Company,

which had a principal place of business in New York.

       27.      Defendant ADAM SHORR was a beneficial owner of Tesis through an

entity he controlled, A&E Czech Enterprises, LLC, which was a Member of the limited

liability company. He also agreed to be a “Business Consultant” for Tesis, and he

worked with call centers and “marketing” groups that contracted with the Tesis

Laboratories.

       28.      Autumn Partnership LLC (“Autumn Partnership”) was a company that

RONALD KING, VICTOR ROITER, TINA WELLMAN, ADAM SHORR, JOHN

GAUTEREAUX, and ROBERT O’SULLIVAN used in late 2019 and early 2020 as a

“proof of concept” for the Tesis business model.

The Conspiracy

       29.      Between in or around January 2020, and continuing through at least

December 2022, in the state and District of Colorado and elsewhere, defendants

RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR, did

knowingly and voluntarily conspire and agree together and with each other to commit

offenses against the laws of the United States, that is:

                a.    to knowingly, and with the intent to defraud, devise and intend to

       devise a scheme and artifice to defraud, and for obtaining money and property by


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       means of materially false and fraudulent pretenses, representations, and

       promises, knowing the pretenses, representations, and promises were false and

       fraudulent when made, and for the purpose of executing the scheme and artifice,

       to knowingly transmit and cause to be transmitted by means of wire

       communication in interstate and foreign commerce, certain writings, signs,

       signals, pictures, and sounds, in violation of Title 18, United States Code, Section

       1343; and

              b.     to knowingly and willfully execute a scheme and artifice to defraud

       health care benefit programs affecting commerce, as defined in Title 18, United

       States Code, Section 24(b), that is, Medicare and Colorado Medicaid, and to

       obtain, by means of materially false and fraudulent pretenses, representations,

       and promises, money and property owned by, and under the custody and control

       of, said health care benefit programs, in connection with the delivery of and

       payment for health care benefits, items, and services, in violation of Title 18,

       United States Code, Section 1347.

Manner and Means of the Conspiracy

       30.    Acting interdependently, defendants RONALD KING, VICTOR ROITER,

TINA WELLMAN, and ADAM SHORR, carried out the conspiracy using the following

manner and means, among others:

       31.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

agreed to work together to acquire and operate Medicare-enrolled independent clinical

laboratories to bill for and obtain payment for genetic testing. The co-conspirators


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agreed that Tesis Labs, LLC, later renamed Tesis Biosciences LLC (“Tesis”), an entity

they had participated in establishing in or around October 2019, would own the

laboratories.

       32.      RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

held beneficial ownership interests in Tesis through entities each controlled, which

entities were members of the limited liability company. The co-conspirators and others

agreed to build revenue from genetic testing to a sufficient level to sell Tesis or to take

the company public and to profit therefrom.

       33.      VICTOR ROITER, RONALD KING, and TINA WELLMAN agreed to and

provided administrative services to “manage the day-to-day operations” of the Tesis

Laboratories, including through Billing Company. RONALD KING agreed to be the Chief

Executive Officer, TINA WELLMAN agreed to be the Chief Operating Officer, and

VICTOR ROITER agreed to be the Vice President of Marketing.

       34.      ADAM SHORR, through A&E Czech Enterprises LLC, an entity he

controlled, agreed to act as a “business consultant” for Tesis in exchange for issuance

to his entity of Series B units of the company’s membership interests.

       35.      To generate payments for genetic testing from Federal health care

programs, RONALD KING, VICTOR ROITER, TINA WELLMAN, ADAM SHORR, and

others known to the grand jury agreed to offer and cause the payment of kickbacks and

bribes to individuals (identified as “marketers”), including via interstate wire

communication, to induce the referral to the Tesis Laboratories of beneficiaries for

genetic testing and in exchange for arranging for doctors’ orders for genetic testing,


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without regard to the medical necessity of the genetic testing, or whether the tests were

eligible for Medicare or Medicaid reimbursement. The co-conspirators agreed to pay

these individuals based on the volume and value of the anticipated reimbursement by

Medicare and Medicaid for the tests, negotiating payment based on the number and

type of tests the marketer committed to send to the Tesis Laboratories each month.

       36.    The co-conspirators concealed and disguised the nature and source of

these kickbacks and bribes through sham invoices and contracts, including by

describing them as payments for purportedly legitimate “marketing and business

services” that the co-conspirators did not intend for the marketers to perform and that

the marketers did not perform. This kickback model was based, in part, on the model

used at Autumn Partnership—the “test case” or “proof of concept” for Tesis. The co-

conspirators caused the Tesis Laboratories to enter into sham contracts with more than

thirty marketers to conceal their kickback relationships. ADAM SHORR and RONALD

KING caused at least four marketing companies to create sham invoices to conceal

their kickback relationships.

       37.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

agreed to pay and caused the payment of marketers for referrals with doctors’ orders for

genetic tests they knew were not medically necessary and knowingly caused the

submission of fraudulent claims to Medicare and Medicaid on the basis of those orders.

       38.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

agreed to pay marketers they knew would target Federal health care program

beneficiaries—mainly the elderly who were likely to be Medicare beneficiaries—by using


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telemarketers at call centers to solicit and induce the beneficiaries to accept genetic

tests regardless of medical necessity and through false pretenses and representations.

       39.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

directed and caused marketers to use telemedicine companies they approved to obtain

doctors’ orders for medically unnecessary genetic tests. These telemedicine providers

used personal health information solicited by telemarketers from the beneficiary and a

brief telephonic call with the beneficiary as the basis for signing the test requisition form

(the doctor’s order). These providers never examined the beneficiaries, typically spoke

to each beneficiary for only a few minutes, relied on beneficiaries’ self-reported medical

information solicited by telemarketers, did not treat or diagnose the beneficiaries with

any medical conditions, and did not intend to and did not use the genetic test results to

treat or diagnose the beneficiaries. The tests were ordered primarily for the economic

benefit of the co-conspirators and their associates. The co-conspirators knew that the

marketing companies paid the telehealth companies on a per-patient basis for the

orders.

       40.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

also procured and paid marketing companies to obtain doctors’ orders for medically

unnecessary genetic tests through a process they referred to as “doctor chase,” by

which the marketer’s call center representatives induced the beneficiary to identify their

primary care physician, and the marketer “chased” the physician and made false and

fraudulent representations to induce the physician to sign off on prepopulated

requisition forms transmitted to the doctors’ offices.


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       41.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

caused marketers falsely and fraudulently to identify or obtain the identification on

doctors’ orders of diagnosis codes (ICD-10 codes) that the Billing Company had

identified as superficially adequate to justify the “medical necessity” of the tests on

paper. The co-conspirators used “medical necessity training” for the marketers and a

“rejection” and “correction” process to obtain doctors’ orders that would enable and

maximize reimbursement. The co-conspirators, through laboratory employees and

through Billing Company representatives located in India, caused marketers to “correct”

doctors’ orders that the Billing Company “rejected” as having insufficient diagnosis

codes to obtain high enough reimbursement by adding or changing diagnosis codes.

       42.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

tracked and caused Tesis and Billing Company employees to track the number and type

of referrals each marketing company submitted and to share this information with the

marketers to ensure the marketers met their monthly referral numbers. The co-

conspirators used the number of “accepted” samples for each marketer in determining

amount and timing of payment and contract status, including whether to terminate a

marketer or to offer the marketer a second contract with a different Tesis laboratory to

compensate them for an increased number of referrals.

       43.    RONALD KING, TINA WELLMAN, and others established an operation

they referred to as the “call center” in New York to make direct contact with the elderly to

solicit their participation in genetic testing for which they could submit claims to

Medicare and others through the Tesis Laboratories. VICTOR ROITER and his co-


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conspirators also attempted, through the conspiracy, to acquire a call center to save

money on the cost of obtaining referrals and doctors’ orders and to maximize their

fraudulent proceeds.

       44.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

caused genetic samples with doctors’ orders to be shipped to the laboratories in

Colorado and Texas.

       45.    When Claro began submitting claims to Medicare for reimbursement for

genetic tests in 2020, Claro did not have the ability to conduct any genetic testing. Until

Claro developed the capability to run its own genetic testing, Claro paid reference labs a

set fee per test to run the genetic tests while Claro submitted the claims to Medicare for

the tests.

       46.    Throughout the conspiracy, RONALD KING, VICTOR ROITER, TINA

WELLMAN, and ADAM SHORR caused the submission, through the Tesis Laboratories,

of false and fraudulent claims to Medicare and Medicaid, including via interstate wire

communication, for genetic tests that were: (a) induced through kickbacks and bribes in

violation of the Anti-Kickback Statute; (b) not medically necessary; (c) not eligible for

reimbursement; and (d) ordered by doctors who did not have a pre-existing doctor-

patient relationship with the beneficiaries, were not treating the beneficiaries, did not

conduct a physical examination, and/or would not use the genetic testing in the

diagnosis or treatment of the beneficiary.

       47.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

submitted, and caused the submission of, false and fraudulent claims to Medicare and


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Colorado Medicaid, including through the use of interstate wire communication, on

behalf of the Tesis Laboratories, totaling approximately $60 million for laboratory

services that were not medically necessary and not eligible for reimbursement. The

Tesis Laboratories received payments for these claims of more than $40 million.

       48.    RONALD KING participated in soliciting and receiving money from

investors to further and perpetuate the scheme, including to pay marketers.

       49.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR,

and others agreed to have Tesis Arizona begin to offer services as a reference

laboratory. Knowing that a third-party laboratory would bill Medicare for medically

unnecessary genetic tests, in or around May 2022, the co-conspirators agreed to have

Tesis Arizona perform the testing for which the third-party, Laboratory A, would submit

claims, in exchange for payment for the testing. TINA WELLMAN through Billing

Company submitted claims for reimbursement for the genetic tests for Laboratory A.

The co-conspirators thus caused and enabled fraudulent billing by reference client

Laboratory A, to Medicare, including through the use of interstate wire communication,

on behalf of Laboratory A for tests completed by Tesis Arizona, totaling over $500,000

for laboratory services that were not medically necessary and not eligible for

reimbursement. As a result of these false and fraudulent claims, Laboratory A received

payments from Medicare totaling over $500,000.

       50.    RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

used the fraudulent proceeds received from Medicare and Medicaid and from investors




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in the fraudulent business model to benefit themselves and others and to further the

fraud.

         The foregoing is in violation of Title 18, United States Code, Section 1349.

                                          COUNT 2
                                      (18 U.S.C. § 371)

         51.   Paragraphs 2, 12, 22 through 28, and 42 are re-alleged and incorporated

by reference as though fully set forth herein.

         52.   Defendant ROBERT O’SULLIVAN was a beneficial owner of Tesis through

Quant BPO, LLC, which was a Member of the Tesis limited liability company.

O’SULLIVAN was a beneficial owner of Quant BPO, LLC through an entity he

controlled, FAM Enterprises LLC.

         53.   Defendant BRADLEY EDSON was a beneficial owner of Tesis through

entities that were Members of the Tesis limited liability company.

         54.   Defendant JOHN GAUTEREAUX was a beneficial owner of Tesis through

Quant BPO, LLC, which was as a Member of the limited liability company. JOHN

GAUTEREAUX was a beneficial owner of Quant BPO, LLC through an entity in which

he was a member.

         55.   Commercial health insurers, such as United Health Care, Aetna, and

Humana, were health care benefit programs as defined in Title 18, United States Code,

Section 220(e)(3).

         56.   Between not later than January 2020 and continuing through at least

December 2022, in the State and District of Colorado and elsewhere, the defendants,

RONALD KING, VICTOR ROITER, TINA WELLMAN, ADAM SHORR, ROBERT

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O’SULLIVAN, BRADLEY EDSON, and JOHN GAUTEREAUX, did knowingly and

voluntarily, with the intent to further the objects of the conspiracy, combine, conspire,

confederate, and agree with each other and with others known and unknown to the

grand jury, to commit offenses against the laws of the United States, that is:

       a.     to violate Title 42, United States Code, Section 1320a-7b(b)(2)(A), by

       knowingly and willfully offering and paying any remuneration, including kickbacks

       and bribes, directly and indirectly, overtly and covertly, in cash and in kind, to a

       person to induce such person to refer an individual to a person for the furnishing

       and arranging for the furnishing of any item and service for which payment may

       be made in whole or in part under a Federal health care program, that is,

       Medicare and Colorado Medicaid; and

       b.     to violate Title 18, United States Code, Section 220(a)(2)(A), by knowingly

       and willfully offering and paying remuneration, including any kickback, bribe, or

       rebate, directly and indirectly, overtly and covertly, in cash and in kind, to induce

       a referral of an individual to a laboratory, with respect to services covered by a

       health care benefit program in and affecting interstate commerce.

Manner and Means of the Conspiracy

       57.    Acting interdependently, the defendants, RONALD KING, VICTOR

ROITER, TINA WELLMAN, ADAM SHORR, ROBERT O’SULLIVAN, BRADLEY

EDSON, and JOHN GAUTEREAUX, carried out the conspiracy using the manner and

means described below.




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       58.     To generate payments for genetic testing from Federal health care

programs and commercial health insurers to the Tesis Laboratories, the co-conspirators

agreed to offer and cause the payment of kickbacks and bribes to individuals (identified

as “marketers”), to induce the referral to the Tesis Laboratories of beneficiaries for

genetic testing and in exchange for arranging for doctors’ orders for genetic testing. The

co-conspirators agreed that the Tesis Laboratories would pay these individuals based

on the volume and value of the anticipated reimbursement by Medicare, Medicaid, and

commercial health insurers for the tests, negotiating payment based on the number and

type of tests the marketer committed to send to the Tesis Laboratories each month and

the expected reimbursement for those tests.

       59.     The co-conspirators concealed and disguised the nature and source of the

kickbacks and bribes through sham invoices and contracts, including by describing

them as payments for purportedly legitimate “marketing and business services” that the

co-conspirators did not intend for the marketers to perform and that the marketers did

not perform. This kickback model was based, in part, on the model used at Autumn

Partnership.

       60.     RONALD KING, VICTOR ROITER, TINA WELLMAN, and ADAM SHORR

caused the Tesis Laboratories to enter into sham contracts with more than thirty

marketers to conceal their kickback relationships. ADAM SHORR and RONALD KING

caused at least four marketing companies to create sham invoices to conceal their

kickback relationships.




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       61.    RONALD KING, VICTOR ROITER, TINA WELLMAN, ADAM SHORR, and

ROBERT O’SULLIVAN, tracked and caused Tesis and Billing Company employees to

track the number and type of referrals each marketing company submitted to the Tesis

Laboratories and to share this information with the marketers to ensure the marketers

met their monthly referral numbers. The co-conspirators used the number of “accepted”

samples for each marketer in determining the amount and timing of payment and

contract status, including whether to terminate a marketer or to offer the marketer a

second contract with a different Tesis laboratory to compensate them for an increased

number of referrals.

       62.    The defendants caused the payment of millions of dollars in kickbacks and

bribes to marketing companies for the referrals.

Overt Acts

       63.    In furtherance of the conspiracy’s objectives, one or more of the co-

conspirators committed one or more of the following acts in the State and District of

Colorado and elsewhere.

       64.    On or about January 31, 2020, VICTOR ROITER directed Individual E via

text message that Claro was ready to take samples and that payment was “40% of net

for 90 days then we go to a flat rate.”

       65.    On or about February 8, 2020, VICTOR ROITER met with Individual A in

person in Colorado to discuss Individual A using his company, Marketing Company A, to

refer beneficiaries with doctors’ orders for genetic tests to Claro.




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        66.   On or about February 18, 2020, RONALD KING sent a draft marketing

contract to TINA WELLMAN, VICTOR ROITER, and JOHN GAUTEREAUX, providing

for payment for services based on invoices submitted at a per-hour rate.

        67.   On or about March 20, 2020, TINA WELLMAN e-mailed ADAM SHORR

“Re: Todd and Danny agreement,” attaching the “marketing agreement” for marketing

group Sunrise Consulting LLC, which provided that Claro would pay the marketing

company $100,000 per month for “marketing and business services.”

        68.   On or about March 23, 2020, VICTOR ROITER caused a Claro employee

located in Colorado to draft a “Marketing Business Services Agreement” for Marketing

Company A located in Colorado, which the employee e-mailed from Colorado to

RONALD KING, VICTOR ROITER, and TINA WELLMAN.

        69.   On or about April 1, 2020, VICTOR ROITER texted Individual B, “Let me

know who am I making the agreement out to? Company name? Or individual / Address /

And how many samples do you think you want to start with? Modality? Cardiac? CGX?

Etc.”

        70.   On or about April 7, 2020, RONALD KING e-mailed JOHN

GAUTEREAUX, TINA WELLMAN, and another attaching a “draft [s]ales agreement for

your reference and edits” and stated, “We should nail down an agreement on the high

performers as we discussed to get them starting conversations.”

        71.   On or about April 7, 2020, RONALD KING e-mailed JOHN GAUTEREAUX

and TINA WELLMAN and asked, “When do you feel there will be draft agreements to

review from the reps on their commitments to volume and test modalities etc?”


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         72.   On or about April 8, 2020, RONALD KING e-mailed a Tesis employee and

TINA WELLMAN, copying VICTOR ROITER, stating, “See fully executed agreement

attached for [Individual B]. Please send to [Individual B] and place in Basecamp.” The

attached “Marketing Business Services Agreement” between Claro and Marketing

Company B-2, signed by VICTOR ROITER, falsely represented that Marketing

Company B-2 would provide “marketing and business services” for a purported flat rate

of $60,000 per month.

         73.   On or about June 16, 2020, RONALD KING e-mailed VICTOR ROITER,

ADAM SHORR, TINA WELLMAN, ROBERT O’SULLIVAN, JOHN GAUTEREAUX,

BRADLEY EDSON, and another stating, “Just as a follow up to our discussion earlier,

we put together a projection by July 15th to have the following volume delivered into the

Lab based on flat rate contracts,” followed by a table listing marketers and “Volume” for

each.

         74.   On or about July 23, 2020, ADAM SHORR forwarded messages from

Individual C to RONALD KING via WhatsApp that included a document titled “Monthly

Swab Count as of 7-22-20.pdf” and a message stating, “I figured roughly 146k owed to

me for tomorrow payout minus 38,500 / Leaves 107,500 due to me / All corrections will

be fixed by tomorrow.”

         75.   On or about July 24, 2020, RONALD KING e-mailed BRADLEY EDSON

stating, “I have approved 2 wires that require sign off today,” and listed “[Individual C]

100k.”




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       76.    On or about September 1, 2020, as reflected in minutes of an executive

meeting involving RONALD KING, TINA WELLMAN, VICTOR ROITER, ADAM SHORR,

ROBERT O’SULLIVAN, BRADLEY EDSON, JOHN GAUTEREAUX, and another,

RONALD KING reported that “Everyone hit their marketing quote for the month by the

third week.” RONALD KING also requested of the group to “Please ensure that all

contracts are in place before payment is made so that we ensure compliance during

audits.”

       77.    On or about September 4, 2020, RONALD KING texted BRADLEY

EDSON that he approved “4 wires for marketing services in August” and listed the

marketing group and amount of the payment to each. BRADLEY EDSON responded, “I

will get them approved in next 20 minutes / Those are some large wires. Hopefully

they’ll perform according to expectations.” RONALD KING explained, “Yes. The volume

is already in the lab.”

       78.    On or about September 13, 2020, VICTOR ROITER e-mailed RONALD

KING stating, “We need to do an addendum to Fabian Espinosa agreement. His

company is Lettus works LLC. He wants to increase vume [sic] from 50 to 150. The total

monthly contract would be $ 180,000.”

       79.    On or about October 27, 2020, RONALD KING forwarded a Tesis

employee who processed payments to marketers an e-mail from Individual D attaching

an invoice dated October 31, 2020, for “Advertising and Marketing Services,” “Payroll,”

“Rent,” and “Salary and Wages” totaling $144,000.




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       80.    On or about October 30, 2020, RONALD KING caused to be issued a

payment of $144,000 to Individual D at FirstBank in Colorado for “marketing services.”

       81.    On or about November 1, 2020, VICTOR ROITER e-mailed RONALD

KING “the numbers for [Marketer D]…. Total samples 245 Montana 43 Colorado 202[.]

So not even close to half.”

       82.    On or about November 19, 2020, ROBERT O’SULLIVAN texted RONALD

KING, “Am I reading this right that if he [marketer] delivers, his company will receive

$8mm in payments?” RONALD KING responded, “If he delivers. So 800k for you.”

       83.    On or about January 19, 2021, RONALD KING texted ROBERT

O’SULLIVAN regarding a marketer and stated, “He’s not understanding the main point

which is he’s not driving volume in yet. We need to move him to a TX agreement. Just

cancel the claro agreement is my suggestion.” ROBERT O’SULLIVAN responded,

“…[H]e should be good volume so he should be willing to cancel and then restart with a

realistic volume with that group[.] That resets the number….”

       84.    On or about March 7, 2021, BRADLEY EDSON e-mailed RONALD KING

regarding contract negotiations with a marketing group. He was responding to an e-mail

from the marketing group to RONALD KING in which the marketer said that “the

contract is too low (from a volume standpoint) and we will hit the year end numbers

within the first 60 days. We would like to (before this contract is implemented –

monetized), to go back to the original schedule as proposed by Ron.” RONALD KING

forwarded this e-mail to BRADLEY EDSON, who responded, “I am completely OK with

increasing the volume if you feel comfortable with that ….”


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       85.    On or about April 13, 2021, Individual E texted VICTOR ROITER regarding

a contract with a marketer. VICTOR ROITER asked Individual E to “confirm 100 or 200”

tests per month, and he responded, “200 at 1200.”

       86.    On or about May 19, 2021, ROBERT O’SULLIVAN forwarded to RONALD

KING a marketer agreement and e-mail describing the agreement as “based on the 35

samples/month with an even split between Cardio & PGx” and requested his review.

       87.    On or about April 21, 2021, RONALD KING spoke to BRADLEY EDSON

telephonically and explained that the contract for Marketing Company F was for 1500

samples per month at approximately $1700 per sample, and that VICTOR ROITER had

“negotiated verbally” with the marketer and “if they did not bring the volume or the

marketing efforts did not yield the revenue needed, we just make a change, we just

terminate.”

       88.    On or about April 27, 2021, BRADLEY EDSON e-mailed RONALD KING

regarding the contract for Marketing Company F, which they had discussed on April 21,

2021, stating: “I think the contract as written, if approved by your legal counsel, is fine

with me. I know you don’t need me to say this, but please monitor the situation closely

to make sure all ‘expectations’ are met as it proceeds.”

       89.    On or about August 5, 2021, BRADLEY EDSON e-mailed RONALD KING

to inform him that wires KING had requested for thirteen marketing groups had been

approved, including for Marketing Company F.

       90.    On or about August 5, 2021, RONALD KING spoke with ROBERT

O’SULLIVAN on the phone and advised him regarding communications with marketers


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regarding volume. KING told O’SULLIVAN to tell a marketer not to “put anything in

writing anymore based on volume,” but that O’SULLIVAN could bring the contractor on,

and they would “just basically back into it.” KING further stated:

       I saw your email on, uh, bringing [marketer] onboard. The only reason I
       didn’t respond to it is [the marketer] put in there specifically volumes,
       which is a compliance issue, he can’t refer that way to discussion points.
       That’s the reason why I didn’t respond to the e-mail, because it would then
       acknowledge that we understood he’s talking about price for volume. So,
       anytime someone does that and they e-mail you and say, “Hey I have 20
       of this or 100 of that or 50 of that and you know, can I get 1200 per
       sample”’ or whatever it is, just don’t even respond to it on e-mail. Don’t
       even acknowledge it, just pick up the phone and call them and say, you
       know, you cannot put any of those things in writing . . . .

       91.    On or about August 5, 2021, during the conversation referenced above,

RONALD KING told ROBERT O’SULLIVAN that KING would authorize a contract for the

marketer for $700,000 per year based on 85 referrals per month at $700 each, or

$59,500 per month, equivalent to $714,000 per year, “and then we’ll just plus or minus

him based on how he does on a month to month basis.”

       92.    On or about May 3, 2021, as reflected in minutes of an executive meeting

involving RONALD KING, TINA WELLMAN, VICTOR ROITER, BRADLEY EDSON, and

another, VICTOR ROITER reported that he was “putting together 2 or 3 new deals. One

is 1200-1500/month, the other 1000/ month to start in May” and “Closed one today for

150 samples.”

       93.    On or about May 3, 2021, as reflected in minutes of an executive meeting

involving RONALD KING, TINA WELLMAN, VICTOR ROITER, BRADLEY EDSON, and

another, RONALD KING reported that he “closed another group 200 and another of



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2,000. They are going to scale a bit. Month 1, 700/month, month 2, 1400 and month 3

will be 3000.”

       94.       On or about July 16, 2021, RONALD KING e-mailed Individual E

attaching, inter alia, an “independent marketing agreement” from Laboratory A and

reports from Laboratory A and Laboratory 2 for “the sales groups you asked for

yesterday on 2020 and 2021. These are accepted samples only . . . .”

       95.       On or about August 6, 2021, VICTOR ROITER e-mailed employees of

Billing Company and Claro, informing them that, “yesterday was payday for our reps,”

that there were “multiple complaints that the numbers are not correct and that the

conversations were had that the amount of samples received by the lab, number of

approved and number of corrected samples,” and asking the e-mail recipients to

“provide me with the amount of samples received for the following groups in July and I

need to know the number or samples accepted after the corrections were sent it.”

       96.       On or about August 30, 2021, as documented in meeting minutes,

RONALD KING instructed participants in an “executive meeting,” including BRADLEY

EDSON, TINA WELLMAN, and another that the laboratory needed to get samples

tested sooner after arriving in the laboratory to help with margin because “[w]e are

pushing too much forward to the following months while marketer payments are high

due to the volume they bring in.”

       97.       On or about September 20, 2021, as reflected in minutes of an executive

meeting involving RONALD KING, TINA WELLMAN, VICTOR ROITER, BRADLEY

EDSON, and another, the co-conspirators discussed that “[Marketing Company G] is a


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new lab group. These are primary care providers and they did a few hundred samples in

a few weeks. They are on track to perform well. Based on projections they will be given

another contract with 303 and spread the wealth with other locations.”

       98.     On or about May 9, 2022, ROBERT O’SULLIVAN texted with VICTOR

ROITER about a kickback payment to a marketer. O’SULLIVAN asked if ROITER had

“[a]ny idea what the payment to [marketer] will be tomorrow?” ROITER responded,

“Who said it will be tomorrow? I did not see the scrubbing report / Was the scrubbing

report sent over?” and continued that, “I will be able to tell you what the payment should

be after I see the report.” ROITER communicated that based on “14 samples for March

and April. All PGX 500x14 = 7,000.” When O’SULLIVAN asked if he should relay that

information to the marketer, ROITER responded, “You can, just call him don’t put

anything in writing.”

       99.     On or about June 1, 2022, JOHN GAUTEREAUX authorized the addition

of his name as an owner for 303 Diagnostics LLC to the Medicare enrollment

information.

       100.    On or about the dates listed below, each constituting a separate overt act,

RONALD KING caused kickback and bribe payments to be made from bank accounts

associated with the Tesis Laboratories, as identified below, to marketers’ bank accounts,

in exchange for the referral of beneficiaries for genetic testing:

      On or About          Payment Account Paid From                 Account Paid To
      Date of Payment      Amount
 a.   June 10, 2020        $60,000 BOKF Account #6172                Wells Fargo Account
                                   (Tesis)                           #1281 (Marketing
                                                                     Company B-2)


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 b.   July 24, 2020       $100,000 BOKF Account #6733             JPMorgan Chase
                                   (Claro Point LLC)              Account #8929
                                                                  (Individual C)
 c.   October 19, 2020    $103,200 BOKF Account #6733             Truist Bank (formerly
                                   (Claro Point LLC)              SunTrust Bank) Account
                                                                  #1176 (Marketing
                                                                  Company B-1)
 d.   October 30, 2020    $144,000 BOKF Account #6733             FirstBank Account #9227
                                   (Claro Point LLC)              (Marketing Company D)
 e.   June 11, 2021       $150,000 BOKF Account #6733             Bank of America Account
                                   (Claro Point LLC)              #8671 (Marketing
                                                                  Company H)
 f.   October 5, 2021     $433,000 BOKF #6226 (Alliance)          Wells Fargo Bank
                                                                  Account #1669
                                                                  (Marketing Company A)
 g.   December 1,         $235,500 BOKF Account #6733             Bank of America Account
      2021                         (Claro Point LLC)              #4628 (Marketing
                                                                  Company I)
 h.   December 1,         $165,600 BOKF Account #6226             JPMorgan Chase
      2021                         (Alliance)                     Account #2859
                                                                  (Marketing Company F)
 i.   February 16,        $150,000 BOKF #6226 (Alliance)          Truist Bank (formerly
      2022                                                        SunTrust Bank) Account
                                                                  #2194 (Marketing
                                                                  Company G)
 j.   June 16, 2022       $40,000     BOKF #8034 (303             Truist Bank Account
                                      Diagnostics)                #8046 (Marketing
                                                                  Company J)
 k.   September 30,       $250,000 BOKF #6226 (Alliance)          Bank of America Account
      2022                                                        #1025 (Marketing
                                                                  Company K)

       The foregoing is in violation of Title 18, United States Code, Section 371.

                                         COUNT 3
                                    18 U.S.C. § 1956(h)

       101.   Beginning in or around August 2020 and continuing through in or around

December 2021, in the state and District of Colorado and elsewhere, the defendants,

RONALD KING, VICTOR ROITER, and TINA WELLMAN, did knowingly combine,



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conspire, confederate, and agree with each other and others known to the grand jury to

commit offenses against the United States in violation of Title 18, United States Code,

Section 1956, to wit: to knowingly conduct and attempt to conduct financial transactions

affecting interstate commerce, which transactions involved the proceeds of specified

unlawful activity, that is, conspiracy to commit wire fraud and health care fraud in

violation of Title 18, United States Code, Section 1349 and conspiracy to offer and pay

kickbacks and bribes in connection with a Federal health care program, in violation of

Title 18, United States Code, Section 1320a-7b(b)(2)(A), knowing that the transactions

were designed in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, and that while

conducting and attempting to conduct such financial transactions, knew that the

property involved in the financial transactions represented the proceeds of some form of

unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

       102.   Acting interdependently, the co-conspirators used the following manner

and means to accomplish the objectives of the conspiracy:

       103.   The co-conspirators agreed to take “overrides” on the payments received

from Medicare for referrals the laboratories purchased from marketing companies the

co-conspirators recruited.

       104.   VICTOR ROITER caused his associates to establish shell companies in

their names to receive payments from Tesis, the laboratories, and other entities for the

overrides. VICTOR ROITER caused these associates to open bank accounts for the




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shell entities, and ROITER obtained access to these accounts to control and issue

payments from the accounts.

       105.    VICTOR ROITER and RONALD KING caused sham marketing contracts

to be signed with these shell entities, calling for payment of hundreds of thousands of

dollars per month to the entities they controlled for bogus “marketing services.” Such

shell entities included Tikor Group LLC (established in the name of ROITER’S the

girlfriend), Rook LLC (established in the name of Individual E), and PF Consultants LLC

(established in the name of ROITER’s personal friend).

       106.    The-conspirators caused Claro, Alliance, and Billing Company employees

to track genetic tests for the beneficiaries referred to the Tesis Laboratories that were

subject to the “override” agreement under these shell company entities for payment

purposes, so the co-conspirators could account for overrides to be paid to themselves.

       107.    VICTOR ROITER and RONALD KING caused payments for the

“overrides” to be issued from Tesis entity bank accounts to accounts in the name of the

shell entities that ROITER controlled. ROITER then distributed the funds from the entity

accounts for the benefit of himself, RONALD KING (through his entity, Kingship

Consulting LLC), TINA WELLMAN, and others. In total, the co-conspirators knowingly

caused monetary transfers in or affecting interstate commerce of millions of dollars to

the shell entities for their benefit.

       108.    VICTOR ROITER, RONALD KING, and TINA WELLMAN, as identified

below, conducted the following financial transactions, which involved the proceeds of

health care fraud, wire fraud, and violations of the Anti-Kickback Statute:


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    Transacting On or About Date     Amount /      Initiating      Recipient
     Individual of Transaction       Transaction   Account         Account
 a. KING        November 5, 2020     $375,000      BOKF            JPMorgan
                                     (wire)        Account         Chase
                                                   #6733 (Claro    Account
                                                   Point LLC)      #3582 (Tikor
                                                                   Group)
 b. WELLMAN      November 19, 2020 $10,000         JPMorgan        NBT Bank
                                   (check          Chase           Account
                                   deposit)        Account         #4630 (Tina
                                                   #8996 (Victor   Wellman)
                                                   Roiter)
 c. KING         November 25, 2020 $10,000         JPMorgan        Northway
                                   (check          Chase           Bank Account
                                   deposit)        Account         #8965
                                                   #8996 (Victor   (Kingship
                                                   Roiter)         Consulting)
 d. KING         December 7, 2020    $375,000      BOKF            JPMorgan
                                     (wire)        Account         Chase
                                                   #6733 (Claro    Account
                                                   Point LLC)      #5202 (Rook)
 e. WELLMAN      December 15, 2020 $23,300         JPMorgan        NBT Bank
                                   (check          Chase           Account
                                   deposit)        Account         #4630 (Tina
                                                   #8996 (Victor   Wellman)
                                                   Roiter)
 f.   KING       December 17, 2020 $23,300         JPMorgan        Northway
                                   (check          Chase           Bank Account
                                   deposit)        Account         #8965
                                                   #8996 (Victor   (Kingship
                                                   Roiter)         Consulting)
 g. KING         January 6, 2021     $375,000      BOKF            JPMorgan
                                     (wire)        Account         Chase
                                                   #6733 (Claro    Account
                                                   Point LLC)      #5202 (Rook)
 h. WELLMAN      January 13, 2021    $35,000       JPMorgan        NBT Bank
                                     (check        Chase           Account
                                     deposit)      Account         #4630 (Tina
                                                   #8996 (Victor   Wellman)
                                                   Roiter)




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 i.   KING       January 19, 2021    $35,00       JPMorgan        Northway
                                     (check       Chase           Bank Account
                                     deposit)     Account         #8965
                                                  #8996 (Victor   (Kingship
                                                  Roiter)         Consulting)
 j.   KING       February 5, 2021    $375,000     BOKF            JPMorgan
                                     (wire)       Account         Chase
                                                  #6733 (Claro    Account
                                                  Point LLC)      #5202 (Rook)
 k. WELLMAN      February 17, 2021   $43,300      JPMorgan        NBT Bank
                                     (check       Chase           Account
                                     deposit)     Account         #4630 (Tina
                                                  #8996 (Victor   Wellman)
                                                  Roiter)
 l.   KING       February 22, 2021   $43,300      JPMorgan        Northway
                                     (check       Chase           Bank Account
                                     deposit)     Account         #8965
                                                  #8996 (Victor   (Kingship
                                                  Roiter)         Consulting)
 m KING          March 16, 2021      $145,000     TD Bank         JPMorgan
 .                                   (wire)       Account         Chase
                                                  #7913           Account
                                                  (Alliance)      #5207 (PF
                                                                  Consultants)
 n. ROITER       March 17, 2021      $98,000      JPMorgan        Northway
                                     (wire)       Chase           Bank Account
                                                  Account         #8965
                                                  #5207 (PF       (Kingship
                                                  Consultants)    Consulting)
 o. ROITER       March 17, 2021      $98,000      JPMorgan        NBT Bank
                                     (wire)       Chase           Account
                                                  Account         #4630 (Tina
                                                  #5207 (PF       Wellman)
                                                  Consultants)
 p. KING         April 5, 2021       $375,000     BOKF            JPMorgan
                                     (wire)       Account         Chase
                                                  #6733 (Claro    Account
                                                  Point LLC)      #5207 (PF
                                                                  Consultants)




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 q. KING         April 9, 2021          $50,000      TD Bank        JPMorgan
                                        (wire)       Account        Chase
                                                     #7913          Account
                                                     (Alliance)     #5207 (PF
                                                                    Consultants)
 r.   ROITER     April 9, 2021          $60,000      JPMorgan       NBT Bank
                                        (wire)       Chase          Account
                                                     Account        #4630 (Tina
                                                     #5207 (PF      Wellman)
                                                     Consultants)
 s. ROITER       April 9, 2021          $60,000      JPMorgan       Northway
                                        (wire)       Chase          Bank Account
                                                     Account        #8965
                                                     #5207 (PF      (Kingship
                                                     Consultants)   Consulting)
 t.   KING       May 5, 2021            $67,500      BOKF           JPMorgan
                                        (wire)       Account        Chase
                                                     #6226          Account
                                                     (Alliance)     #5207 (PF
                                                                    Consultants)
 u. ROITER       May 6, 2021            $20,000      JPMorgan       NBT Bank
                                        (wire)       Chase          Account
                                                     Account        #4630 (Tina
                                                     #5207 (PF      Wellman)
                                                     Consultants)
 v.   ROITER     May 6, 2021            $20,000      JPMorgan       Northway
                                        (wire)       Chase          Bank Account
                                                     Account        #8965
                                                     #5207 (PF      (Kingship
                                                     Consultants)   Consulting)
 w. KING         July 8, 2021           $110,800     BOKF           JPMorgan
                                        (wire)       Account        Chase
                                                     #6226          Account
                                                     (Alliance)     #5207 (PF
                                                                    Consultants)
 x. KING         July 8, 2021           $145,200     BOKF           JPMorgan
                                        (wire)       Account        Chase
                                                     #6733 (Claro   Account
                                                     Point LLC)     #5207 (PF
                                                                    Consultants)




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 y.    ROITER       July 8, 2021           $45,000         JPMorgan          NBT Bank
                                           (wire)          Chase             Account
                                                           Account           #4630 (Tina
                                                           #5207 (PF         Wellman)
                                                           Consultants)
 z.    KING         August 12, 2021        $163,685        BOKF              JPMorgan
                                           (wire)          Account           Chase
                                                           #6226             Account
                                                           (Alliance)        #5207 (PF
                                                                             Consultants)
 aa.   ROITER       August 13, 2021        $30,000         JPMorgan          NBT Bank
                                           (wire)          Chase             Account
                                                           Account           #4630 (Tina
                                                           #5207 (PF         Wellman)
                                                           Consultants)
 bb.   KING         September 7, 2021      $222,250        BOKF              JPMorgan
                                           (wire)          Account           Chase
                                                           #6226             Account
                                                           (Alliance)        #5207 (PF
                                                                             Consultants)
 cc.   ROITER       September 8, 2021      $45,933         JPMorgan          NBT Bank
                                           (wire)          Chase             Account
                                                           Account           #4630 (Tina
                                                           #5207 (PF         Wellman)
                                                           Consultants)

       The foregoing is in violation of Title 18, United States Code, Section 1956(h).

                              FORFEITURE ALLEGATION

       109.   The allegations above are realleged and incorporated by reference for

purposes of alleging forfeiture pursuant to Title 18, United States Code, Sections

982(a)(1), 982(a)(7), 982(a)(8), 981(a)(1)(A), and 981(a)(1)(C), and Title 28, United

States Code, Section 2461(c).

       110.   Upon conviction of the violations alleged in Count 1 involving the

commission of violations of Title 18, United States Code, Sections 1349, 1343, and

1347, defendants identified in Count 1 shall forfeit to the United States, pursuant to Title


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18, United States Code, Sections 982(a)(7), 982(a)(8), and 981(a)(1)(C), and Title 28,

United States Code, Section 2461(c), any and all of each defendant’s right, title, and

interest in all property constituting and derived from any proceeds the defendant

obtained directly and indirectly as a result of such offense, including but not limited to

the assets listed in paragraph 113.

       111.   Upon conviction of the violations alleged in Count 2 involving the

commission of violations of Title 18, United States Code, Section 371 and Title 42,

United States Code, Section 1320a-7b(b), defendants identified in Count 2 shall forfeit

to the United States, pursuant to Title 18, United States Code, Sections 982(a)(7), and

981(a)(1)(C), and Title 28, United States Code, Section 2461(c), any and all of each

defendant’s right, title, and interest in all property constituting and derived from any

proceeds the defendant obtained directly and indirectly as a result of such offense,

including but not limited to the assets listed in paragraph 113.

       112.   Upon conviction of the violations alleged in Count 3 involving the violation

of Title 18, United States Code, Section 1956(h), defendants identified in Count 3 shall

forfeit to the United States, pursuant to Title 18, United States Code, Sections 982(a)(1),

982(a)(7), and 981(a)(1)(A), and Title 28, United States Code, Section 2461(c), any and

all of each defendant’s right, title, and interest in all property, real or personal, involved

in such an offense, or any property traceable to such property, including but not limited

to the assets listed in paragraph 113.

       113.   The specific assets to be forfeited include but are not limited to:

           a. Approximately $82,357.18 in funds from Bank of Oklahoma account
              #6161 in the name of Tesis Labs, LLC;

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         b. Approximately $1,017.77 in funds seized from Bank of Oklahoma account
            #6172 in the name of Tesis Labs LLC;

         c. Approximately $6,856.17 in funds from JP Morgan Chase account #4752
            in the name of Claro Scientific Labs;

         d. Approximately $8,278.35 in funds from Bank of Oklahoma account #6722
            in the name of Claro Labs, LLC;

         e. Approximately $960.70 in funds from Bank of Oklahoma account #6733 in
            the name of Claro Point LLC;

         f. Approximately $158,037.32 in funds from TD Bank account #7913 in the
            name of Alliance DX LLC;

         g. Approximately $309.86 in funds from Bank of Oklahoma account #6226 in
            the name of Alliance DX;

         h. 2022 Jeep Wrangler VIN: 1C4HJXEGXNW256066, seized from Ronald
            King;

         i. A cartier diamond ring, seized from Ronald King;

         j. Approximately $342,945.03 in funds from Wells Fargo bank Account
            #9150 in the name of Tikor Marketing, LLC;

         k. Approximately $25,287.26 in funds from Citibank Account #1481 in the
            name of Tikor Group LLC;

         l. Approximately $265,936.76 in funds from Citibank Account #6971 in the
            name of Redstone Consulting LLC;

         m. Approximately $51,595.50 in funds from Citibank Account #8483 in the
            name of Victor Roiter;

         n. Approximately $5,782.98 in funds from Citibank Account #8496 in the
            name of Victor Roiter;

         o. Approximately $20,359.25 in funds from Citibank Account #0558 in the
            name of O.T.;

         p. Approximately $7,700.00 U.S. Currency seized by the FBI on July 12,
            2022, in Sunny Isles Beach, Florida;

         q. Approximately $6,400.00 U.S. Currency seized by the FBI on July 12,
            2022, in Sunny Isles Beach, Florida;

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          r. Miscellaneous jewelry seized by the FBI on July 12, 2022, in Sunny Isles
             Beach, Florida;

          s. Approximately $35,707.82 Bank of Richmondville account #6747, in the
             name of Valley Vantage Consulting, LLC;

          t. Approximately $2,197,744.83 in Fidelity account #3207, in the name of
             Tina Wellman;

          u. Approximately $190,435.69 in Fidelity #3490, in the name of Tina
             Wellman;

          v. Approximately $264,371.38 in Fidelity account #7329, in the name of Tina
             Wellman;

          w. Approximately $118,569.48 in Fidelity account #3509, in the name of Tina
             Wellman;

          x. Real Property Located at 149-151 Elm St. Cobleskill, New York;

          y. Real Property Located at 8125 N 86th PL, Scottsdale, Arizona 85258-
             4310;

          z. Any assets seized from the following entities: Redstone Consulting LLC;
             Tikor Group LLC; Tikor Marketing LLC; Tesis Labs, LLC; Tesis
             Biosciences, LLC; Tesis Property Holdings, LLC; Claro Scientific
             Laboratories LLC; Claro Labs LLC; Claro Point LLC; Alliance DX LLC;
             303 Diagnostics, LLC; 303 Point LLC; Tesis Labs of Arizona, LLC;
             Genome Explorations, Inc.; and all nominees, parent companies,
             subsidiaries, affiliates, or otherwise related entities of the foregoing;

          aa. A money judgment in the amount of proceeds obtained by the conspiracy
              and scheme, and by the defendants.

      114.   If any of the property described above, as a result of any act or omission

of the defendants:

          a. cannot be located upon the exercise of due diligence;

          b. has been transferred or sold to, or deposited with, a third party;

          c. has been placed beyond the jurisdiction of the Court;

          d. has been substantially diminished in value; or

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            e. has been comingled with other property which cannot be subdivided

               without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of said defendant up to the value of the forfeitable

property.

                                                   A TRUE BILL:

                                                   Ink signature on file in Clerk’s Office
                                                   FOREPERSON



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